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                                                                          SAVANNAH OIV.

                     UNITED STATES DISTRICT COURT
                                                                      Z8I8.IUNI I PMMS?
                     SOUTHERN DISTRICT OF GEORGIA
                              SAVANNAH DIVISION                     CLERK
UNITED STATES OF AMERICA

V.                                                  CR 4:17-cr-00105

DANIEL EDGAR JOHNSON                                     H-H ^Cr-ooZi^
                               PLEA AGREEMENT


      Defendant Daniel Edgar Johnson, represented by his counsel Courtney Lerch,

Esq., and the United States of America, represented by Assistant United States

Attorney Matthew A. Josephson, Assistant United States Attorney Tara M. Lyons,

and U.S. Department of Justice Trial Attorney Risa Berkower, have reached a plea

agreement in this case. The terms and conditions of that agreement are as follows.

1.    Guilty Plea

      Defendant, having been indicted by a grand jury in this case, has chosen to

enter a plea of guilty to Count One of the Indictment. Count One of the Indictment

charges the defendant with maliciously conveying false information about explosive

materials, in violation of 18 U.S.C.§ 844(e).

      Defendant, having also been advised of the right to be charged by Indictment,

agrees to waive that right and enter a plea of guilty to Counts One,Two,Three, Four,

Five, and Six of the Information.

      Counts One,Three,and Five ofthe Information charge the defendant,a former

State of Georgia corrections officer, with willfully depriving three female prison

inmates of their right, under the U.S. Constitution and Federal law, to be free from
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cruel and unusual punishment. These Counts further allege that the defendant was

acting under color oflaw at the time ofthese offenses,in violation of 18 U.S.C.§ 242.

       Each of counts Two, Four, and Six of the Information charges the defendant

with tampering with a witness, victim or informant, in violation of 18 U.S.C. §

1512(b)(3).

       2.     Elements and Factual Basis


       The elements necessary to prove a violation of 18 U.S.C. § 844(e), the offense

chained in 0)unt One of the Indictment, are:(1)that Defendant made any threat,or

maliciously conveyed false information, knowing the same to be false, concerning an

attempt or alleged attempt being made, or to be made, to kill, injure, or intinaidate

any individual or unlawfully to damage or destroy any buildii^, vehicle,or other real

or personal property, by means offire or an explosive;(2)that the defendant used, or

caused to be used, an instrument of commerce, such as a telephone, to communicate

the information; and(3)that the defendant acted knowingly and willfuUy.

       The elements necessary to prove a violation of 18 U.S.C. § 242, the offense

charged inUounts One,Three,and Five ofthe Information,are:(1)that the defendant

acted under color of law; (2) that the defendant deprived the victim of a right

guaranteed by the U.S. Constitution or federal law; and(3)that the defendant acted

willfully.

      The elements necessary to prove a violation of 18 U.S.C. § 1512(b)(3), the

offense charged in Counts Two, Four, and Six of the Information, are: (1) that the

defendant knowingly intimidated, threatened, or corruptly persuaded another
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person, or attempted to do so; (2) that the defendant intended to hinder, delay, or

prevent the communication of information concerning the commission or possible

commission ofa federal offense; and(3)that there is a reasonable likelihood that,but-

for the obstructive conduct, at least one material communication would have been

made to a federal law enforcement officer.

      Defendant agrees that he is, in fact, guilty of these offenses. He agrees to the

accura<^ of the following facts, which satisfy the required elements for each of these

offenses:

      Count One of the Indictment: On or about May 3, 2017,in Chatham County,

within the Southern District of Georgia, the defendant, through the use of the

telephone, maliciously conveyed false information knowing the same to be false,

concerning an alleged attempt to damage or destroy any building, vehicle, or other

real or personal property by means offire or an explosive,in or affecting interstate or

foreign commerce,in violation of Title 18, United States Code, Section 844(e).

      Count One ofthe Information: On or about November 1,2012,and continuing

through on or about August 30, 2013, the defendant was working as a corrections

officer at the Emanuel Women's Facility (EWF) in Swainsboro, Cireorgia, located

within the Southern District of Geoigia, where S.A. was a prison inmate. On more

than one occasion during this time period, the defendant, while acting under color of

law,penetrated SA.'s vagina with his penis against S.A.'s will. Thisconduct deprived

SA. of her right under the Eighth Amendment of the U.S. Constitution to be free

from cruel and unusual punishment, which includes the right of an inmate to be &ee


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£rom an unwanted sexual assault. At all times relevant to this Count,the defendant

acted willfiilly and under color oflaw.

      Count Two of the Information: On or about November 1, 2012,and continuing

through on or about August 30, 2013, in the Southern District of Geoi^a, the

defendant knowingly used intimidation and corrupt persuasion to prevent SA.from

reporting the sexual assaults described in Count Two to law enforcement authorities.

The defendant knew that these sexual assaults constituted a potential federal

offense, and he acted knowingly and with the intent to prevent 8.A. from talking

about these assaults to law enforcement officers, including agents &om the Federal

Bureau of Investigation (FBI). If S.A. had reported the sexual assaults, it is

reasonably likely that her report would have been conveyed to the FBI.

      Count Three of the Information: On or about April 1, 2013, and continuing

through on or about April 30,2013,the defendant was working as a corrections officer

at EWF in Swainsboro, Grargia, located within the Southern District of Georgia,

where MA.was a prison inmate. On more than one occasion during this time period,

the defendant, while acting under color of law, penetrated MA.'s vapna with his

penis against MA-'s will. This conduct deprived M.A of her right imder the Eighth

Amendment of the U.S. Constitution to be free from cruel and unusual punishment,

which includes the right ofan inmate to be &ee firom an unwanted sexual assault. At

all times relevant to this Count, the defendant acted willfully and under color oflaw.

      Count Four of the Information: On or about April 1, 2013 and continuing

through on or about April 30,2013,in the Southern District of Georgia,the defendant


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knowingly used intimidation, threats, and corrupt persuasion to prevent M.A. from
reporting the sexual assaults described in Count Four to law enforcement authorities.

The defendant knew that these sexual assaults constituted a potential federal

offense, and he acted knowingly and with the intent to prevent M.A. from talking
about these assaults to law enforcement officers, including FBI agents. If M.A. bed

reported the sexual assaults, it is reasonably likely that her report would have been

conveyed to the FBI.

      Count Five of the Information: On or about April 1, 2013, and continuing

through on or about September 30,2013, the defendant was working as a corrections

ofBcer at EWF in Swainsboro, Geoi^a, located within the Southern District of

Georgia, where M.P. was a prison inmate. On more than one occasion during this

time period, the defendant, while acting under color oflaw, penetrated M.P.'s vagina

with his penis against M.P.'s will. This conduct deprived M.P.of her right under the

Eighth Amendment of the U.S. Constitution to be free from cruel and unusual

punishment, whudi includes the right of an iiunate to be free from an unwanted

sexual assault. At all times relevant to this Count,the defendant acted willfully and

under color oflaw.

      Count Sixofthe Information:On or about April 1,2013and conrinuing through

on or about September 30, 2013, in the Southern District of Georgia, the defendant

knowingly used intimidation and corrupt persuasion to prevent M.P.from reporting

the sexual assaults de^ribed in Count Six to law enforcement authorities. The

defendant knew that these sexual assaults constituted a potential federal offense.
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 and he acted knowingly and with the intent to prevent M.P.from talking about these
assaults to law enforcement officers, including FBI agents. If M.P. had reported the
sexual assaults, it is reasonably likely that her report would have been conveyed to
the FBI.

3.    Possible Sentence


      Defendant's guilty plea will subject him to the following maximum possible

sentence:


      For Count One of the Indictment: 10 years'imprisonment, 3 years* supervised

release, a $250,000 fine, a $100 mandatory special assessment, and such restitution

as may be ordered by the Court.

      For Counts One, Three, and Five of the Information; 1 year imprisonment, 1

year supervised release, a $100,000 fine, a $25 mandatory special assessment, and

such restitution as may be ordered by the Court.

      For Counts Two, Four, and Six of the Information: 20 years imprisonment, 3

years supervised release, a $250,000 fine, a $100 mandatory special assessment, and

such restitution as may be ordered by the Court.

      Defendant reserves the right to argue at sentencing that the sentence imposed

for the Counts charged in the Information (Counts One through Six) should run

concurrent to the sentence imposed for Count One ofthe Indictment. The government

agrees to take no position on whether these sentences should run concurrently or

consecutively.

4.    No Promised Sentence
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       No one has promised Defendant that the Court will impose any particular
sentence or a sentence within any particular range. The Court is not bound by any
estimate of sentence given or recommendations made by Defendant's counsel, the

government, the U.S. Probation OfBce, or anyone else. The Court may impose a
sentence up to tJie statutory maximum. Defendant will not be allowed to withdraw

his plea of guilty if he receives a more severe sentence than he expects.

5.     Court's Use of Sentencing Guidelines

       The Court is obligated to use the United States Sentencing Guidelines to

calculate the applicable advisory guideline range for Defendant's offense. The

Sentencing Guidelines are advisory: the Court is not required to impose a sentence

within the range those Guidelines suggest.          The Court, in determining the

Defendant's sentence, will consider that range; possible departures under the

Sentencing Guidelines; and other sentencing factors under 18 U.S.C.§ 8553(a). The

Sentencing G\iidelines are ba^ on gU of Defendant's relevant conduct, pursuant to

U.S.S.G. § lBl.3, not just the conduct underlying the particular Counts to which

Defendant is pleading guilty.

6.    Agreements Regarding Sentencing Guidelines

      a.     Use of Information

      Nothing in this agreement precludes the government from providing full and

accurate information to the Court and U.S.Probation OfSce for use in calf-iilatniig the

applicable Sentencing Guidelines range.

      b.     Acceptance of ResoonaibUitv



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      IfDefendant continues to ac<%pt responsibility for his crimes up to and through
sentencing,the government will notobject to a recommendation by the U.S.Probation

Office that Defendant receive a two-level reduction in offense level for acceptance of

responsibility pursuant to Section 3El.l(a)ofthe Sentencing Guidelines. If the U.S.

Probation Office mak^ that r^mmendation,and Defendant's offense level is 16 or

greater prior to any reduction for acceptance of responsibility, the government will

move for an additional one-level reduction in offense level pursuant to Section

3El.l(b)ofthe Sentencing Guidelines based on Defendant's timely notification of his

intention to enter a guilty plea.

7.    Abandonment ofProperty

      Defendant waives and abandons his interest in any property that may have

been seized in connection with this case, including but not limited to cellular

telephones, personal computers, electronic tablets, and other seized electronic

devices.


8.    Financial Obligations and Agreements

      a.     Restitution

      The amountofrestitution ordered by the Court shall include restitution for the

full loss caused by Defendant's total criminal conduct. Restitution is not limited to

the specific a>imts to which Defendant is pleading guilty.

      b.     Si^al Assessment

      Defendant agrees to pay a special assessment for each count to which

Defendant pleads guilty, in the amounts listed in paragraph Three. The special


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assessment is payable to the Clerk of the United States District Court, which

be due immediately at the time ofsentencing.

      c.     Required Financial Disclosures

      By the date that Defendant enters a guilty plea, Defendant shall complete a

financial disclosure form listing all his assets and financial interests, whether held

directly or indirectly, solely or jointly, in his name or in the name of another.

Defendant shall sign the financial disclosure form under penalty of peijury and

provide that form to the Financial Litigation Unit of the United States Attorney's

OfiSce and to the United States Probation Office. Defendant authorizes the United

States to obtain credit reports on Defendant and to share the contents ofthose reports

with the Court and the United States Probation Office. Defendant also authorizes

the United States Attorney's Office to inspect and copy all financial documents and

information held by the United States Probation Office.

      d.     Financial Examination

      Defendant will submit to an examination under oath on the issue of his

financial disclosures and assets if deemed necessary by the United States. Such

examination, if necessary, will occur not later than 30 days after the entry of

Defendant's guilty plea.

      e.     No Transfer of Assets

      Defendant certifies that he has made no transfer of assets in contemplations

of this prosecution for the purpose of evading or defeating financial obligations
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 created by this Agreement or that may be imposed upon him 1^ the Court at
 sentencing. Defendant promises that he will make no such transfers in the future.

       f.     Material Change in Circumstances

       Defendant agrees to notify the United States of any material change in

 dmimstances,as described in 18 U.S.C.§ 3664(k), that occurs prior to sentencing in

 this case. Such notification will be made within seven days of the event giving rise

 to the changed circumstances,and in no event later than t^e date of sentencing.

       g.     Enforcement

       Any payment schedule impeded by the Court is without prejudice to the United

 States to take all actions and remedies available to it to collect the full amount ofthe

 financial <d}]igations imiK^ed by the judgment of the Court in this case. Defendant

 understands and agrees that the financial obligations impeded by thejudgment ofthe

 Court in this case will be placed on the Treasuiy Offset Program so that any federal

 payment that Defendant receives may be offset and applied to the judgment debt

 without regard to or aff«:ting any payment schedule impcMced by the Court.

 9.    Waivers

       a.     FQIA and Privacy Act Waiver

       Defendant waives all rights, whether asserted dir^tly or through a

 representative, to request or receive from any department or agency of the United

 States any record pertaining to the investigation or prosecution ofthis case under the

 authority of the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of

 1974,5 U.S.C.§ 552a,and all subsequent amendments thereto.


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       b.     Fed. R. Crim.P. llffl and Fed. R. Evid.410 Waiver

       Rule 11(f) of the Federal Rules of Criminal Procedure and Rule 410 of the

Federal Rules of Evidence ordinarily limit the admissibility ofstatements made by a

defendant during the a)urse of plea discussions or plea prmseedings. Defendant

knowingly and voluntarily waives the protections of these rules. If Defendant fails

to plead guilty, or his plea of guilty is later withdrawn, all of Defendant's statements

in connection with this plea, including those contained within this plea agreement,

and any leads derived therefrom,shall be admissible for any and all pun^oses.

10.   Sex Offender Registration

      Defendant will be required, as a condition of his supervised release pursuant

to 18 U.S.C. § 3583(d), to register as a sex offisnder upon his release from prison.

Independent of supervised release, he will be subject to federal and state sex offender

registration requirements. Those requii^ments may apply throughout his life.

11.   Resolution of All Federal Charges

      Defendant understands, and the government agrees, that if Defendant

successfully enters a guilty plea to Counts One of the Indictment and to Counts One

through Six of the Information and is sentenced by the Court on those Counts, then

the Defendant's plea will constitute full satisfaction of all federal criminal charges

known to the United States Attorney or to the U.S. Department of Justice's Civil

Rights Division atthe time ofDefendant's guilty plea, which might have been brought

solely in tiiis District against Defendant.

12.   Related State Charges



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       Defendant understands and has discussed with his attorney that the Emanuel

 County District Attorney's Office has stated its intent to dismiss all pending state

charges against defendant if he successfully enters a plea to Counts One of the

Indictment and to Counts One through Six of the Information and is sentenced on

those Counts. At the same time, Defendant understands and has discussed with his

attorney the fact that the United States has no authority of any kind concerning any

 pending state charges against Defendant. Defendant further understands and has

discussed with his attorney that he does not have the right to withdraw his guilty

 plea based on any decision made by the Emanuel County District Attorney's Office

concerning the pending state charges against him.

 13.   Defendant's Rights

       Defendant has the right to be represented by counsel, and if necessary have

the court appoint counsel, at trial and at every other critical stage of the proceeding.

Defendant possesses a number of rights which he will waive by pleading guilty,

including: the right to plead not guilty, or having already so pleaded, to persist in

that plea;the right to a jury trial; and the right at trial to con&ont and cross-examine

adverse witnesses, to be protected from compelled self-incrimination, to testify and

present evidence, and to compel the attendance of witnesses.

14.    Satisfaction with Counsel

       Defendant has had the benefit of legal counsel in negotiating this agreement.

Defendant believes that his attorney has represented him faithfully, skillfully, and




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 diligently, and he is completely satisfied with the legal advice given and the work
 performed by his attorney.

 15.   Breach of Plea Agreement

       IfDefendantfails to plead guilty, withdraws or attempts to withdraw his guilty
 plea,commits any new mminal conduct following the execution of this agreement,or

otherwise breaches this agreement, the government is released from all of its

agreements regarding Defendant's sentence, including any preliminary estimates

 made regarding the calculation of Defendant's advisory Sentencu^ Guidelines. In

addition, the government may declare the plea agreement null and void, reinstate

any counts that may have been dismissed pursuant to the plea agreement,and/or file

new charges against Defendant that might otherwise be barred by this plea

agreement. Defendant waives any statute-of-limitations or speedy trial defense to

prosecutions reinstated or commenced under this paragraph.




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16.     Entire Agreement

        This agreement contains the entire agreement between the government and

Defendant.


                                     JAMES D. DURHAM
                                     ACTING UNITED STATES ATTORNEY




          y
Date                                 Brian T. Rafferty
                                     Chief, Criminal Division


3
Date                                 Matthew A. Josephson
                                     Georgia Bar No. 367216
                                     Assistant United States Attorney


g(1S"(jon                           'fgyQsL
Date                                 Tara M. Lyons
                                     South Carolina Bar No. 16573
                                     Assistant United States Attorney
                                                                        (A/


Date                                 Risa Berkower
                                     New York Bar No. 4536538
                                     Trial Attorney
                                     U.S. Department of Justice
                                     Civil Rights Division




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       I have read and carefully reviewed this agreement with my attorney. I

understand each provision of this agreement, and I voluntarily agree to it. I hereby

stipulate that the factual basis set out therein is true and accurate in every respect.



i'/i-n
Date                                      aniel Edgar (JohrisetfC Defendant

       I have fully explained to Defendant all of his rights, and I have carefully

reviewed each and every part of this agreement with him. I believe that he fully and

completely understands it, and that his decision to enter into this agreement is an

informed, intelligent, and voluntary one.




Date                                    Courtney Le^h, Defendant's Attorney




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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                          SAVANNAH DIVISION

 UNITED STATES OF AMERICA

 V.                                                 €R 4:17-cr-00105


DANIEL EDGAR JOHNSON

                                      ORDER


      The aforesaid Plea A^eement, having been considered by the Court in

conjunction with the interrogation fay the Court of the defendant and the

defendant's attorney at a hearing on the defendant's motion to change his plea and

the Court finding that the plea of guilty is made freely, voluntarily and knowingly,

it is thereupon,

      ORDERED that the plea of guilty by defendant fae,and it is, hei^fay accepted

and the foregoing Plea Agreement fae, and it is, hereby ratified and confirmed.



             This /t—day nf




                                HON. WILLIAM T. MOOREJ^,JUDGE
                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF GEORGIA
